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                      IN THE UNITED STATES DISTRICT COURT                                              B
                      FOR THE EASTERN DISTRICT OF VIRGINIA                    CLERK. U.S. DISTRICT COURT
                                   Richmond Division                                 RICHMOND. VA.



UNITED STATES OF AMERICA

v.                                               Criminal No. 3:08CR507-HEH


ALANDA WOODSON,

        Petitioner.


                              MEMORANDUM OPINION
                           (Denying 28 U.S.C. § 2255 Motion)

        Alanda Woodson, a federal inmate proceeding pro se, filed this motion under 28

U.S.C. § 2255 (the "§ 2255 Motion") to vacate, set aside, or correct his sentence. In his

§ 2255 Motion, Woodson asserts that in light of the decisions in UnitedStates v.

Simmons, 649 F.3d 237 (4th Cir. 2011) and UnitedStates v. Thompson, 826 F. Supp. 2d

863 (E.D.N.C. 2011), vacated, 480 F. App'x 201 (4th Cir. 2012), the Court incorrectly

sentenced him as a career offender. See US. Sentencing Guidelines Manual ("U.S.S.G.")

§ 4B1.1 (2008).1 The Government has responded. The matter is ripe for disposition.

                                  I. Procedural History

        A grand jury charged Woodson with possession with intent to distribute heroin

(Count One); possession of a firearm in furtherance of a drug trafficking crime (Count

Two); and possession of firearm by a felon (Count Three). (Indictment 1-2, ECF No. 1.)

Thereafter, Woodson pled guilty to Counts One and Two. At sentencing, the Court

determined that Woodson qualified as a career offender. (June 23, 2009 Tr. 28.)

 1The Courtutilizes the version of the Sentencing Guidelines employed at Woodson's
sentencing.
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The Court sentenced Woodson to 240 months for Count One and a 60 month consecutive

sentence for Count Two. (J. 2, ECF No. 58.)

                                        II. Analysis

       Woodson contends that he is not a career offender as defined by U.S.S.G § 4B1.1.

This guideline provides:

       A defendant is a career offender if (1) the defendant was at least eighteen
       years old at the time the defendant committed the instant offense of
       conviction; (2) the instant offense of conviction is a felony that is either a
       crime of violence or a controlled substance offense; and (3) the defendant
       has at least two prior felony convictions of ... a controlled substance
       offense.


U.S.S.G. § 4B1.1(a) (emphasis added). The relevant part of the career offender

guidelines defines a controlled substance offense as "an offense under federal or state

law, punishable by imprisonment for a term exceeding one year, that prohibits the ...

possession of a controlled substance ,. . with intent to . . . distribute. ..." U.S.S.G.

§ 4B 1.2(b). Woodson argues that his two prior controlled substance offenses are not

felonies in light of United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) and United

States v. Thompson, 826 F. Supp. 2d 863 (E.D.N.C. 2011), vacated, 480 F. App'x 201

(4th Cir. 2012).

       Simmons and Thompson do not support Woodson's contention that his designation

as a career offender is invalid. Simmons decided a unique issue related to enhanced

sentences due to prior felony convictions under North Carolina's Structured Sentencing

Act (the "Act"). See 649 F.3d at 240-44. The Act provides strict sentencing mandates

that prohibit judges from imposing more than the maximum sentence given in the Act's
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statutory chart. Id. at 240 (citing N.C. Gen. Stat. § 15A-1340.13(b), (c)). In Simmons,

the Act's statutory chart and the defendant's circumstances precluded any possibility of

the defendant receiving more than one year of imprisonment for his prior North Carolina

conviction. Id. at 243. Therefore, the defendant's prior North Carolina conviction did

not qualify as a felony for purposes of calculating his sentence under the United States

Sentencing Guidelines. Id. at 250.

        In Thompson, the district court determined that under Simmons the defendant did

not qualify for an enhanced sentence as an armed career criminal under 18 U.S.C. 924(e)

because the defendant's actual sentences for his prior convictions did not result in

physical imprisonment of over one year. 826 F. Supp. 2d at 866-67. The United States

Court of Appeals for the Fourth Circuit rejected this interpretation of Simmons. United

States v. Thompson, 480 F. App'x 201, 204 (4th Cir. 2012). The court held that the

relevant inquiry is not the actual sentence the defendant received, but "whether the actual

defendant was subject to a potential sentence of greater than one year of imprisonment."

Id


        Woodson's two prior controlled substance offenses qualify as felonies for

purposes of his career offender designation. For the first offense, possession of cocaine

with intent to distribute, Woodson received a ten-year prison sentence with all but seven

months suspended. (Presentence Investigation Report 8.) For the second offense,

possession of cocaine with intent to distribute, Woodson received a five-year prison

sentence with all five years suspended. (Id. at 9.) Woodson's prior sentences are for
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the defendant in Simmons, Woodson's prior sentences were not subject to North

Carolina's Act. From Thompson, the correct inquiry in determining whether a prior

conviction qualifies as felony is not whether the defendant actually served more than one

year, but whether the defendant was subject to a potential sentence of more than one year.

480 F. App'x at 204. As in Thompson, the circuit court had the discretion to sentence

Woodson to more than one year imprisonment for both of his prior controlled substance

offenses. Because both his prior controlled substance offenses potentially subjected

Woodson to prison terms of more than one year, Woodson qualifies as a career offender

under U.S.S.G. §4B1.1.

                                     III. Conclusion


       The § 2255 Motion (ECF No. 74) will be denied and the action will be dismissed.

An appeal may not be taken from the final order in a § 2255 proceeding unless a judge

issues a certificate of appealability ("COA"). 28 U.S.C. § 2253(c)(1)(B). A COA will

not issue unless a prisoner makes "a substantial showing of the denial of a constitutional

right." 28 U.S.C. § 2253(c)(2). This requirement is satisfied only when "reasonable

jurists could debate whether (or, for that matter, agree that) the petition should have been

resolved in a different manner or that the issues presented were 'adequate to deserve

encouragement to proceed further.'" Slack v. McDaniel, 529 U.S. 473, 484 (2000)

(quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)). Woodson has not satisfied

this standard. Accordingly, a certificate of appealability will be denied.

       An appropriate Final Order will follow.
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(quoting Barefoot v. Estelle, 463 U.S. 880, 893 &n.4 (1983)). Woodson has not satisfied
this standard. Accordingly, a certificate of appealability will be denied.

       An appropriate Final Order will follow.

                                                   W*                 /s/
                                                  HENRY E. HUDSON
                                                  UNITED STATES DISTRICT JUDGE
Date: fwL.1.2orft
Richmond, Virginia
